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 AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                                           DistrictDistrict
                                                      __________    of Columbia
                                                                            of __________

               In the Matter of the Search of                                 )
          (Briefly describe the property to be searched                       )
                     or identify the person by name and address)              )              Case No.   21-sc-220
THE SEARCH OF INFORMATION ASSOCIATED WITH                                     )
ONE ACCOUNT STORED AT PREMISES CONTROLLED                                     )
BY TWITTER, INC. PURSUANT TO 18 U.S.C. 2703 FOR                               )
INVESTIGATION OF VIOLATION OF 18 U.S.C. 2101
     APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
         I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
 penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
 property to be searched and give its location):
  See Attachment A (incorporated by referance)

 located in the             Northern               District of                 California                , there is now concealed (identify the
  person or describe the property to be seized):
  See Attachment B (incorporated by reference)


           The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                ✔ evidence of a crime;
                u
                ✔ contraband, fruits of crime, or other items illegally possessed;
                u
                  u property designed for use, intended for use, or used in committing a crime;
                  u a person to be arrested or a person who is unlawfully restrained.
           The search is related to a violation of:
              Code Section                    Offense Description
         18 U.S.C. §§ 2101, 371,                   (interstate travel to riot), (Conspiracy), (civil disorder), (Disorderly Conduct on
         231(a)(3), and 1752                       Capitol grounds), and (unlawful activities on the United States Capitol grounds)
         40 U.S.C. § 5104

       The application is based on these facts:
         Please see attached affidavit
            u Continued on the attached sheet.
            u Delayed notice of        days (give exact ending date if more than 30 days:                                     ) is   requested under
              18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                        Applicant’s signature

                                                                                             Elisa G. Bernazzani, Special Agent - FBI
                                                                                                        Printed name and title

 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                       telephone                       (specify reliable electronic means).


 Date:            01/22/2021
                                                                                                          Judge’s signature

 City and state: Washington, D.C.                                                            G. Michael Harvey, U.S. Magistrate Judge
                                                                                                        Printed name and title
                           Case 1:21-sc-00220-GMH Document 1 Filed 01/22/21 Page 2 of 28

AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV               u Original                u Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District
                                                          __________     of Columbia
                                                                     District of __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No.        21-sc-220
  THE SEARCH OF INFORMATION ASSOCIATED WITH ONE                             )
  ACCOUNT STORED AT PREMISES CONTROLLED BY TWITTER,
  INC. PURSUANT TO 18 U.S.C. 2703 FOR INVESTIGATION OF                      )
  VIOLATION OF 18 U.S.C. 2101                                               )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                        Northern  District of            California
(identify the person or describe the property to be searched and give its location):
  See Attachment A (incorporated by reference)




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B (incorporated by reference)




        YOU ARE COMMANDED to execute this warrant on or before                February 5, 2021      (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to       G. Michael Harvey, United States Magistrate Judge     .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                     .


Date and time issued:             01/22/2021
                                                                                                          Judge’s signature

City and state: Washington, DC                                                       G. Michael Harvey, United States Magistrate Judge
                                                                                                        Printed name and title
                           Case 1:21-sc-00220-GMH Document 1 Filed 01/22/21 Page 3 of 28
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                       Date and time warrant executed:                          Copy of warrant and inventory left with:
 21-sc-220
Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
         Case 1:21-sc-00220-GMH Document 1 Filed 01/22/21 Page 4 of 28




                                     ATTACHMENT A
                                   Property to Be Searched


       This warrant applies to information which is associated with the Twitter, Inc. account(s)

identified as @Pat_Stedman and which is stored at premises owned, maintained, controlled, or

operated by Twitter, Inc. a company that accepts service of legal process at 1355 Market Street,

Suite 900, San Francisco, California 94103.
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                                          ATTACHMENT B

                        Particular Things to be Seized and Procedures
                            to Facilitate Execution of the Warrant

   I.      Information to be disclosed by Twitter, Inc. (“PROVIDER”) to facilitate
           execution of the warrant

        To the extent that the information described in Attachment A is within the possession,

custody, or control of Twitter, including any messages, records, files, logs, or information that

have been deleted but are still available to Twitter, or have been preserved pursuant to a request

made under 18 U.S.C. § 2703(f), Twitter is required to disclose the following information to the

government for each account listed in Attachment A, for the time period November 1, 2020 to

the Present:
               a. All identity and contact information, including full name, e-mail address,

                  physical address (including city, state, and zip code), date of birth, gender,

                  hometown, occupation, and other personal identifiers;

               b. All past and current usernames, account passwords, and names associated with

                  the account;

               c. The dates and times at which the account and profile were created, and the

                  Internet Protocol (“IP”) address at the time of sign-up;

               d. All IP logs and other documents showing the IP address, date, and time of each

                  login to the account;

               e. All data and information associated with the profile page, including

                  photographs, “bios,” and profile backgrounds and themes;

               f. All “tweets” and Direct Messages sent, received, “favorited,” or retweeted by

                  the account, and all photographs or images included in those tweets and Direct

                  Messages;
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    g. All information from the “Connect” tab for the account, including all lists of

       Twitter users who have favorited or retweeted tweets posted by the account, as

       well as a list of all tweets that include the username associated with the account

       (i.e., “mentions” or “replies”);

    h. All photographs and images in the user gallery for the account;

    i. All location data associated with the account, including all information

       collected by the “tweet with location” service;

    j. All information about the account’s use of Twitter’s link service, including all

       longer website links that were shortened by the service, all resulting shortened

       links, and all information about the number of times that a link posted by the

       account was clicked;

    k. All data and information that has been deleted by the user;

    l. A list of all of the people that the user follows on Twitter and all people who

       are following the user (i.e., the user’s “following” list and “followers” list);

    m. A list of all users that the account has “unfollowed” or blocked;

    n. All “lists” created by the account;

    o. All information on the “Who to Follow” list for the account;

    p. All privacy and account settings;

    q. All records of Twitter searches performed by the account, including all past

       searches saved by the account;

    r. All information about connections between the account and third-party

       websites and applications;
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Twitter is hereby ordered to disclose the above information to the government within 14 days of

issuance of this warrant.

   II.      Information to be seized by the government

         All information described above in Section I that constitutes fruits, evidence and

   instrumentalities of violations of 18 U.S.C. §§ 2101 (interstate travel to riot), 371 (conspiracy),

   231(a)(3) (civil disorder)and 1752 (Disorderly Conduct on Capitol Grounds) , and 40 U.S.C.

   § 5104 (unlawful activities on the United States Capitol grounds), as well as attempting and

   abetting these offenses (collectively, the “Subject Offenses”), since November 1, 2020,

   including, for each username identified on Attachment A, information pertaining to the

   following matters:

         (a) Communications, photographs and other data relating to the preparation and planning

            for, organization of, and participation in, the January 6, 2021 rioting on the United

            States Capitol grounds and inside the United States Capitol, including but not limited

            to all communications, photographs and other data relating to travel to and from

            Washington, D.C. in January 2021, the planning for the trip and event, and the purpose

            for such travel;

         (b) Evidence indicating how and when the Twitter account was accessed or used, to

            determine the chronological and geographic context of account access, use, and events

            relating to the crime under investigation and to the Twitter account owner;

         (c) Evidence indicating the Twitter account owner’s state of mind as it relates to the crimes

            under investigation;

         (d) The identity of the person(s) who created or used the user ID, including records that

            help reveal the whereabouts of such person(s).
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       (e) The identity of the person(s) who communicated with the user ID about matters relating

           to the Subject Offenses, including records that help reveal their whereabouts.

       This warrant authorizes a review of electronically stored information, communications,

other records and information disclosed pursuant to this warrant in order to locate evidence, fruits,

and instrumentalities described in this warrant. The review of this electronic data may be

conducted by any government personnel assisting in the investigation, who may include, in

addition to law enforcement officers and agents, attorneys for the government, attorney support

staff, and technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the

disclosed electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.
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   III.      Government procedures for warrant execution

          The United States government will conduct a search of the information produced by the

PROVIDER and determine which information is within the scope of the information to be seized

specified in Section II. That information that is within the scope of Section II may be copied and

retained by the United States.

          Law enforcement personnel will then seal any information from the PROVIDER that does

not fall within the scope of Section II and will not further review the information absent an order

of the Court. Such sealed information may include retaining a digital copy of all information

received pursuant to the warrant to be used for authentication at trial, as needed.
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                    CERTIFICATE OF AUTHENTICITY OF DOMESTIC
                     RECORDS PURSUANT TO FEDERAL RULES OF
                            EVIDENCE 902(11) AND 902(13)

        I, _________________________________, attest, under penalties of perjury by the laws
of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in
this certification is true and correct. I am employed by _________________________________
(“PROVIDER”), and my title is ____________________________________________________.
I am a custodian of records for PROVIDER, and I am qualified to authenticate the records attached
hereto because I am familiar with how the records were created, managed, stored, and retrieved. I
state that the records attached hereto are true duplicates of the original records in the custody of
PROVIDER. The attached records consist of:

        ________________________________________________________________________
        [GENERALLY DESCRIBE RECORDS (pages/CDs/megabytes)]

        I further state that:

        a.     all records attached to this certificate were made at or near the time of the
occurrence of the matter set forth by, or from information transmitted by, a person with knowledge
of those matters, they were kept in the ordinary course of the regularly conducted business activity
of PROVIDER, and they were made by PROVIDER as a regular practice; and

      b.      such records were generated by PROVIDER’s electronic process or system that
produces an accurate result, to wit:

                1.     the records were copied from electronic device(s), storage medium(s), or
file(s) in the custody of PROVIDER in a manner to ensure that they are true duplicates of the
original records; and

                2.     the process or system is regularly verified by PROVIDER, and at all times
pertinent to the records certified here the process and system functioned properly and normally.

       I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of the
Federal Rules of Evidence.




 Date                                 Signature




                                                  1
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEARCH OF
 INFORMATION ASSOCIATED WITH
 ONE ACCOUNT STORED AT
                                                  SC No.       21-sc-220
 PREMISES CONTROLLED BY
 TWITTER, INC. PURSUANT TO 18
                                                  Filed Under Seal
 U.S.C. 2703 FOR INVESTIGATION OF
 VIOLATION OF 18 U.S.C. 2101



Reference:     USAO Ref. # 2021R0326; Subject Accounts: @Pat_Stedman


                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Elisa Bernazzani, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application for a search warrant for

information associated with the Twitter account @Pat_Stedman, (the “SUBJECT ACCOUNT”),

that is stored at premises owned, maintained, controlled, or operated by Twitter, Inc. and

headquartered in San Francisco, California (“Twitter” or the “Provider”). The information to be

searched is described in the following paragraphs and in Attachment A. The information to be

searched is described in the following paragraphs and in Attachment A. This affidavit is made in

support of an application for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A), and

2703(c)(1)(A) to require Twitter, Inc. to disclose to the government copies of the information

(including the content of communications) further described in Section I of Attachment B. Upon

receipt of the information described in Section I of Attachment B, government-authorized persons

will review that information to locate the items described in Section II of Attachment B, using the

procedures described in Section III of Attachment B.
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       2.       I am a Special Agent with the Federal Bureau of Investigation (FBI) and have been

so employed since 2008. Specifically, I am assigned to the Washington Field Office (WFO) and

am authorized by law or by a Government agency to engage in or supervise the prevention,

detention, investigation, or prosecution of a violation of Federal criminal laws. I am assisting in

the investigation and prosecution of events which occurred at the United States Capitol on January

6, 2021.

       3.       The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, witnesses, and agencies. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant. It does

not set forth all of my knowledge, or the knowledge of others, about this matter.

       4.       Based on my training and experience and the facts as set forth in this affidavit, I

respectfully submit that there is probable cause to believe that violations of 18 U.S.C. §§ 2101

(interstate travel to riot), 371 (conspiracy), 231(a)(3) (civil disorder) and 1752 (Disorderly Conduct

on Capitol Grounds), and 40 U.S.C. § 5104 (unlawful activities on the United States Capitol

grounds),, as well as attempting and abetting these offenses (collectively, the “Subject Offenses”)

have been committed by Patrick A. Stedman (STEDMAN).

       5.       Based on my training and experience and the facts as set forth in this affidavit, there

is probable cause to search the SUBJECT ACCOUNT for information described in Attachment A

for evidence, fruits, and instrumentalities of the Subject Offenses and items to be seized listed in

Attachment B.

                                             JURISDICTION

       6.       This Court has jurisdiction to issue the requested warrant because it is a “court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A), and



                                                  2
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(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that – has jurisdiction

over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i). As discussed more fully below,

acts or omissions in furtherance of the offenses under investigation occurred within Washington,

DC. See 18 U.S.C. § 3237.

                                        PROBABLE CAUSE

The Events of January 6, 2021

        7.       The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

        8.       On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.

        9.       On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

        10.      As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the



                                                    3
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U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside.

        11.    At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter or

remain in the building and, prior to entering the building, no members of the crowd submitted to

security screenings or weapons checks by U.S. Capitol Police Officers or other authorized security

officials.

        12.    At such time, the certification proceedings still underway and the exterior doors

and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol

Police attempted to maintain order and keep the crowd from entering the Capitol; however, shortly

after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking

windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged

and assisted those acts.

        13.    Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings

of the United States Congress, including the joint session, were effectively suspended until shortly

after 8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry

to the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol

without any security screening or weapons check, Congressional proceedings could not resume

until after every unauthorized occupant had left the U.S. Capitol, and the building had been



                                                 4
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confirmed secured. The proceedings resumed at approximately 8:00 pm after the building had been

secured. Vice President Pence remained in the United States Capitol from the time he was

evacuated from the Senate Chamber until the session resumed.

       14.     During national news coverage of the aforementioned events (collectively, the

“Capitol Protest”), video footage which appeared to be captured on mobile devices of persons

present on the scene depicted evidence of violations of local and federal law, including scores of

individuals inside the U.S. Capitol building without authority to be there.

       15.     Based on tips the FBI received and information I have reviewed, there is probable

cause to believe that PATRICK A. STEDMAN entered the Unites States Capitol without

authorization to do so.

The Subject’s Participation in the Capitol Protest

       16.     PATRICK A. STEDMAN is a 32-year-old resident of Haddonfield, New Jersey.

STEDMAN self identifies as a dating and relationship strategist on his Twitter page, under display

name Pat Stedman, username @Pat_Stedman. STEDMAN is a frequent Twitter user and as of

January 10, 2021 had 25.6K followers.

       17.     A screenshot of STEDMAN’s Twitter Profile page on or about January 10, 2021:




                                                 5
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       18.     In addition to relationship strategy advice, STEDMAN posts and comments

regularly on political topics. STEDMAN posts a “live stream video” called “COVID/CABAL” on

his Twitter account in which he addresses a wide variety of topics.

       19.     Witness 1 submitted a tip to the FBI’s online tip portal on or about January 7, 2021.

According to Witness 1, STEDMAN posted a video to his Twitter account @Pat_Stedman at 3:52

pm on January 6, 2021 where he discussed his participation in the riots: “I was pretty much in the

first wave, and we broke down the doors and climbed up the back part of the Capitol building and

got all the way into the chambers.”

       20.     Witness 1, a college classmate of STEDMAN, was interviewed by the FBI on

January 19, 2021 and was “one hundred percent confident” the individual posting on

@Pat_Stedman on Twitter was identical to the Patrick STEDMAN that he has known since

college.

       21.     Witness 1 was aware of STEDMAN’s active social media presence and noted that

over the past year, STEDMAN’s posts had become “extremely political and incendiary.”


                                                 6
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       22.    Witness 2 submitted a tip to the FBI’s online tip portal on or about January 8, 2021

about STEDMAN posting a video to his Twitter account @Pat_Stedman “storming the Capital,

then bragging about if after.” Witness 2 claimed STEDMAN had been “encouraging his tens of

thousands of fans to join him in DC for weeks.”

       23.    Witness 2, a high school classmate of STEDMAN, was interviewed by the FBI on

January 19, 2021 and was “one hundred percent sure” the individual posting on @Pat_Stedman

on Twitter was identical to the Patrick STEDMAN that he has known since high school. Witness

2 believed STEDMAN resided with his parents in Haddonfield, New Jersey.

       24.    On or about December 30, 2020, STEDMAN posted to his Twitter account under

the display name Pat Stedman, username @Pat_Stedman [hereinafter STEDMAN’s Twitter posts

will refer to this account], a message about going to Washington, DC on January 6, 2021. He

instructed his followers to “DM” (direct message) him if they were planning on going because he

was assembling a “team.”

       25.    A screenshot of STEDMAN’s Twitter posts on or about December 30, 2020:




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       26.     On January 1, 2021, STEDMAN posted on Twitter, “Be prepared to camp or sleep

in cars. They will make it as difficult as possible. Only makes it more fun.”

       27.     A screenshot of STEDMAN’s Twitter post on January 5, 2021:




       28.     On January 2, 2021, STEDMAND posted on Twitter, “They will do everything

they can to stop you from entering DC on the 6th. Which is why you have to come.”

       29.     A screenshot of STEDMAN’s Twitter post on January 2, 2021:




       30.     On January 3, 20201, STEDMAN posted on Twitter, “God help you because what

is coming will haunt you for decades.”

       31.     A screenshot of STEDMAN’s Twitter post on January 3, 2021:




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       32.     On January 5, 2021, STEDMAN posted on Twitter, “Follow @drtigerjoseph for

feed of DC. Incredible energy. Heading down myself tonight. See you there!”

       33.     A screenshot of STEDMAN’s Twitter post on January 5, 2021:




       34.     On January 5, 2021, STEDMAN posted on Twitter a video of an incident on what

appears to be a train indicating he was a passenger on a train.

       35.     A screenshot of STEDMAN’s Twitter post on January 5, 2021:




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       36.    On January 6, 2021, STEDMAN posted on Twitter videos that appears to have been

taken from inside the U.S. Capitol. In the first image, STEDMAN posted, “Backwards hat (Antifa)

right where they were breaking into the main area of Congress.”

       37.    A screenshot of STEDMAN’s Twitter post on January 6, 2021:




       38.    In another video, STEDMAN posted, “I can tell you having been in the Capitol

these videos the MSM (mainstream media) is showing of fights between cops and protestors are

unlike any of the dynamics I saw. Does this look like a “tense” scene to you?” In another post,

STEDMAN posted, “[s]hots fired, guns drawn by guards.”

       39.    A screenshot of STEDMAN’s Twitter post on January 6, 2021:




                                              10
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       40.     In a video posted to STEDMAN’s account on Twitter titled “COVID / CABAL –

PATRIOT’S DAY” on January 6 2021, STEDMAN appeared on video and discussed the details

of his presence inside the U.S. Capitol, including sitting in Speaker of the House of Representatives

Nancy Pelosi’s office.

       41.     A screenshot of the video posted to STEDMAN’s Twitter on January 6, 2021:




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       42.     Based upon the likeness of the main speaker in the COVID / CABAL –

PATRIOT’S DAY video to photographs of STEDMAN with the New York and New Jersey

Department of Motor Vehicles (DMV), a 2017 application with the New York State Liquor

Authority, as well as speaking appearances in YouTube videos where STEDMAN is introduced

by name, I submit the STEDMAN shown in the Twitter footage at the Capitol is one and the same.

       43.     Based on the foregoing, there is probable cause to believe that the SUBJECT

ACCOUNT contains evidence of the Subject Offenses, including evidence of STEDMAN’s travel

from New Jersey, to Washington, D.C., to take part in the violent rioting and siege of the Capitol,

as well as of STEDMAN’s state of mind and intent in engaging in such activity. There is also

probable cause to believe that the SUBJECT ACCOUNT will contain evidence of the identities

other individuals with whom STEDMAN may have conspired to commit such offenses.



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       44.     On January 9, 2021 Twitter was served with a preservation letter under 18 U.S.C.

§ 2703(f) related to @Pat_Stedman.

                     BACKGROUND CONCERNING PROVIDER’S ACCOUNTS

       45.     Twitter owns and operates a free-access social-networking website of the same

name that can be accessed at http://www.twitter.com. Twitter allows its users to create their own

profile pages, which can include a short biography, a photo of themselves, and location

information. Twitter also permits users create and read 140-character messages called “tweets,”

and to restrict their “tweets” to individuals whom they approve. These features are described in

more detail below.

       46.     Upon creating a Twitter account, a Twitter user must create a unique Twitter

username and an account password, and the user may also select a different name of 20 characters

or fewer to identify his or her Twitter account. The Twitter user may also change this username,

password, and name without having to open a new Twitter account.

       47.     Twitter asks users to provide basic identity and contact information, either during

the registration process or thereafter. This information may include the user’s full name, e-mail

addresses, physical address (including city, state, and zip code), date of birth, gender, hometown,

occupation, and other personal identifiers. For each user, Twitter may retain information about the

date and time at which the user’s profile was created, the date and time at which the account was

created, and the Internet Protocol (“IP”) address at the time of sign-up. Because every device that

connects to the Internet must use an IP address, IP address information can help to identify which

computers or other devices were used to access a given Twitter account.




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       48.       A Twitter user can post a personal photograph or image (also known as an “avatar”)

to his or her profile, and can also change the profile background or theme for his or her account

page. In addition, Twitter users can post “bios” of 160 characters or fewer to their profile pages.

       49.       Twitter also keeps IP logs for each user. These logs contain information about the

user’s logins to Twitter including, for each access, the IP address assigned to the user and the date

stamp at the time the user accessed his or her profile.

       50.       As discussed above, Twitter users can use their Twitter accounts to post “tweets”

of 140 characters or fewer. Each tweet includes a timestamp that displays when the tweet was

posted to Twitter. Twitter users can also “favorite,” “retweet,” or reply to the tweets of other users.

In addition, when a tweet includes a Twitter username, often preceded by the @ sign, Twitter

designates that tweet a “mention” of the identified user. In the “Connect” tab for each account,

Twitter provides the user with a list of other users who have “favorited” or “retweeted” the user’s

own tweets, as well as a list of all tweets that include the user’s username (i.e., a list of all

“mentions” and “replies” for that username).

       51.       Twitter users can include photographs or images in their tweets. Each Twitter

account also is provided a user gallery that includes images that the user has shared on Twitter,

including images uploaded by other services.

       52.       Twitter users can also opt to include location data in their tweets, which will reveal

the users’ locations at the time they post each tweet. This “tweet with location” function is off by

default, so Twitter users must opt in to the service. In addition, Twitter users may delete their past

location data.




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       53.     When Twitter users want to post a tweet that includes a link to a website, they can

use Twitter’s link service, which converts the longer website link into a shortened link that begins

with http://t.co. This link service measures how many times a link has been clicked.

       54.     A Twitter user can “follow” other Twitter users, which means subscribing to those

users’ tweets and site updates. Each user profile page includes a list of the people who are

following that user (i.e., the user’s “followers” list) and a list of people whom that user follows

(i.e., the user’s “following” list). Twitter users can “unfollow” users whom they previously

followed, and they can also adjust the privacy settings for their profile so that their tweets are

visible only to the people whom they approve, rather than to the public (which is the default

setting). A Twitter user can also group other Twitter users into “lists” that display on the right side

of the user’s home page on Twitter. Twitter also provides users with a list of “Who to Follow,”

which includes a few recommendations of Twitter accounts that the user may find interesting,

based on the types of accounts that the user is already following and who those people follow.

       55.     In addition to posting tweets, a Twitter user can also send Direct Messages (DMs)

to one of his or her followers. These messages are typically visible only to the sender and the

recipient, and both the sender and the recipient have the power to delete the message from the

inboxes of both users. As of January 2021, Twitter displayed only the last 100 DMs for a particular

user, but older DMs are stored on Twitter’s database.

       56.     Twitter users can configure the settings for their Twitter accounts in numerous

ways. For example, a Twitter user can configure his or her Twitter account to send updates to the

user’s mobile phone, and the user can also set up a “sleep time” during which Twitter updates will

not be sent to the user’s phone.




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        57.     Twitter includes a search function that enables its users to search all public tweets

for keywords, usernames, or subject, among other things. A Twitter user may save up to 25 past

searches.

        58.     Twitter users can connect their Twitter accounts to third-party websites and

applications, which may grant these websites and applications access to the users’ public Twitter

profiles.

        59.     If a Twitter user does not want to interact with another user on Twitter, the first

user can “block” the second user from following his or her account.

        60.     In some cases, Twitter users may communicate directly with Twitter about issues

relating to their account, such as technical problems or complaints. Social-networking providers

like Twitter typically retain records about such communications, including records of contacts

between the user and the provider’s support services, as well as records of any actions taken by

the provider or user as a result of the communications. Twitter may also suspend a particular user

for breaching Twitter’s terms of service, during which time the Twitter user will be prevented from

using Twitter’s services.

        61.     Therefore, the computers of Twitter are likely to contain all the material described

above, including stored electronic communications and information concerning subscribers and

their use of Twitter, such as account access information, transaction information, and other account

information.

                        Information To Be Searched And Things To Be Seized

        62.     I anticipate executing this warrant under the Electronic Communications Privacy

Act, in particular Title 18, United States Code, Sections 2703(a), (b)(1)(A), and (c)(1)(A), by using

the warrant to require Twitter to disclose to the government copies of the records and other



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information (including the content of communications) particularly described in Section I of

Attachment B. Upon receipt of the information described in Section I of Attachment B,

government-authorized persons will review that information to locate the items described in

Section II of Attachment B.


                    REQUEST TO SUBMIT WARRANT BY TELEPHONE
                      OR OTHER RELIABLE ELECTRONIC MEANS

       63.       I respectfully request, pursuant to Rules 4.1 and 41(d)(3) of the Federal Rules of

Criminal Procedure, permission to communicate information to the Court by telephone in

connection with this Application for a Search Warrant. I submit that Assistant U.S. Attorney Peter

Lallas, an attorney for the United States, is capable of identifying my voice and telephone number

for the Court.

                                          CONCLUSION

       64.       As set forth above and based on the aforementioned factual information, I

respectfully submit that there is probable cause to believe that evidence, fruits, and

instrumentalities of violations, or attempted violations, of the Subject Offenses may be located in

the SUBJECT ACCOUNT described in Attachment A.

       65.       Accordingly, I request that the Court issue the proposed search warrant.

       66.       .Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant. Because the warrant will be served on Twitter,

who will then compile the requested records at a time convenient to it, there exists reasonable

cause to permit the execution of the requested warrant at any time in the day or night. Pursuant to

18 U.S.C. § 2703(g), the presence of a law enforcement officer is not required for the service or

execution of this warrant.



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                                         Respectfully submitted,




                                         Elisa G. Bernazzani
                                         Federal Bureau of Investigation



Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on January 22, 2021.


_________________________________________
G. MICHAEL HARVEY
UNITED STATES MAGISTRATE JUDGE




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